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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

JENISA A. BRENNECKE, Individually and
as Special Administrator of the Estate of
MARLEEN L. COMISKEY, and

JENISA A. BRENNECKE, Individually           and         Case   No.: l8-cv-00883
as Special Administrator of the Estate of M.
MARIE COMISKEY

                        Plaintiff.
v.

GERTRUDE F. LUDMER,

U.HAUL INTERNATIONAL, [NC.,
c/o The Corporation Trust Company of
Nevada

INTACT INSURANCE CO.

                        Defbndants.



                  DEFENDANT INTACT INSURANCE COMPANY'S CORPORATE
                               DISCLOSURE STATEMENT

          Pursuant to Fed. R. Civ . P. 7.1 the undersigned, counsel of record for Defendant Intact

Insurance Company states as follows:

          Defendant Intact Insurance Company is a wholly owned subsidiary of 8658471 Canada

Inc. which is itself a subsidiary of Intact Financial Corporation, a Canadian publicly held

corporation traded on the Toronto Exchange.

          This 25th day of January, 2019.

                                                  Respectfu     l   ly submitted,

                                                  LEWIS BRISBOIS BISGAARD & SMITH

                                                                      i-            ')
                                                  Rv'
                                                  vf.



                                                          lntact Insurance Co.'s Attorneys
485r-0536-8%6.1                                   I
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